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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

UNITED STATES OF AMERICA
                                        CRIMINAL ACTION
v.
                                        NO. 1:15-cr-0082-TCB
GINO SHULER,

      Defendant.

                                ORDER

      This case comes before the Court on Magistrate Judge Linda T.

Walker’s Final Report and Recommendation (the “R&R”) [554], which

recommends that Defendant Gino Shuler be found competent to stand

trial. No objections to the R&R have been filed.

      The Court has conducted a “careful and complete” review of the

R&R. Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir. 1982) (per

curiam). Having done so, it finds no plain error in its factual findings or

legal conclusions. See Macort v. Prem, Inc., 208 F. App’x 781, 784 (11th

Cir. 2006) (holding that where no objection is made to an R&R, it need

be reviewed only for clear error).
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     Accordingly, the Court adopts as its Order the R&R [554]. Shuler

is competent to stand trial.

     IT IS SO ORDERED this 18th day of May, 2017.




                                  Timothy C. Batten, Sr.
                                  United States District Judge




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